Case 1:21-cv-11558-LTS Document 158-18 Filed 09/09/22 Page 1 of 8




             EXHIBIT R
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          Case 1:21-cv-11558-LTS Document 158-18 Filed 09/09/22 Page 2 of 8      Page 1

  1                       UNITED STATES DISTRICT COURT

  2                  FOR THE DISTRICT OF MASSACHUSETTS

  3     - - - - - - - - - - - - - - -                 X

  4     UNITED STATES OF AMERICA,                     :

  5     STATE OF ARIZONA, STATE OF                    :

  6     CALIFORNIA, DISTRICT OF                       :

  7     COLUMBIA, STATE OF FLORIDA,                   :

  8     COMMONWEALTH OF                               :

  9     MASSACHUSETTS, COMMONWEALTH                   :

 10     OF PENNSYLVANIA and                           :

 11     COMMONWEALTH OF VIRGINIA,                     :

 12           Plaintiffs,                             :   Case No.

 13                    v.                             :   1:21-cv-11558

 14     AMERICAN AIRLINES GROUP INC.,                 :

 15     and JETBLUE AIRWAYS                           :

 16     CORPORATION,                                  :

 17           Defendants.                             :

 18     - - - - - - - - - - - - - - -                 X

 19                            HIGHLY CONFIDENTIAL

 20                                      Remote Deposition

 21                                      Tuesday, August 23, 2022

 22


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  1    yes and no.

  2                    I mean, I understand you've got to do a

  3    statistical analysis, but putting that aside -- and

  4    that's how we do -- I'm not sure I understand what

  5    documents you're talking about that would answer that

  6    precise question unless someone did their own

  7    analysis, in which case I've not seen it.

  8                    If you have -- I'd be happy to look at it

  9    if you have it and tell you whether it affects my

 10    conclusions, but I'm not aware of anyone else doing

 11    the study I've done.

 12           Q.       If I could direct you back to your report

 13    to page 5.       Page 5 and in particular to footnote 14.

 14           A.       Yes.

 15           Q.       Do you see where I'm at?

 16           A.       I see footnote 14, yes.

 17           Q.       Okay.     In that footnote, you refer to the

 18    idea that looking at fares in the, quote, post-NEA

 19    implementation period may not be reliable indications

 20    of competitive effects because American and JetBlue

 21    may have agreed to postpone competitive actions

 22    during this litigation.

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  1                    Did I paraphrase your point correctly?

  2           A.       Yes.

  3           Q.       You say that there is no evidence of such

  4    an agreement?

  5           A.       Yes.

  6           Q.       What is your basis for that statement?

  7           A.       Well, I've seen no evidence.               They've not

  8    suggested they have evidence that there's an

  9    agreement.       I'll defer to the lawyers, but I assume

 10    an agreement to behave in a way to enable -- to

 11    avoid -- to enact an agreement that is essentially,

 12    according to Dr. Miller, a price-fixing agreement, I

 13    assume that would be an antitrust violation.                      But I'm

 14    not aware that they're alleging that.

 15                    However, I am aware that -- I believe

 16    Dr. -- either Dr. Miller or Dr. Town or maybe both do

 17    say something on this and I have thought about it.

 18           Q.       What do you mean when you say you've

 19    thought about it?

 20           A.       Well, I believe it's Dr. Miller says that

 21    the fact that there's a litigation going on, this

 22    litigation, means that AA and JetBlue are under

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          Case 1:21-cv-11558-LTS Document 158-18 Filed 09/09/22 Page 5 of 8    Page 125

  1    scrutiny and, because of that, they won't raise

  2    price.     But the implication, I take it, from that is

  3    once they convince the Court to let the agreement go

  4    forward, they'll jack up price.

  5                    And, you know, my reaction to that is I

  6    understand the concern, but the fact that they're

  7    under scrutiny now doesn't mean they won't continue

  8    to be under scrutiny.            The information on prices from

  9    DB1B is publicly available.               That's why the airlines

 10    is one of the most studied markets in industrial

 11    organization.

 12                    I've set forth a methodology to tell you

 13    whether the overlap routes, the ones Dr. Miller is

 14    most concerned about, have their fares go up relative

 15    to control routes, control routes that in his own

 16    model he predicts shouldn't have an effect.                      It seems

 17    to me there would be continued scrutiny and it would

 18    be easy to have continued scrutiny and that if

 19    Dr. Miller is correct that -- and I'm paraphrasing

 20    him -- but he seems to say the agreement and its

 21    details are irrelevant because it's really just a

 22    subterfuge to allow two firms to get together and

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  1    conspire.

  2                    If that in fact is true and he's using

  3    methodology to determine whether the overlap fares

  4    are going up relative to the control group, I would

  5    think that that continued scrutiny as well as the

  6    threat of antitrust actions and treble damages would

  7    continue.

  8                    So I just don't understand why the data

  9    that exists aren't relevant for doing an analysis.

 10    And this is the same analysis.                  You could hire me

 11    next year and say, Dennis, has anything changed?

 12    Should I sue them?           I mean, your economists have

 13    access to the same data.             Every economist actually.

 14    It's publicly available data.                  So I just don't

 15    understand this issue that, oh, it's a subterfuge and

 16    it's going to be a trick if that's what they're

 17    suggesting.        It just seems wrong.

 18                    They also quote a Dr. Werden.

 19    Dr. Werden's article is in the context of a merger.

 20    I don't think this is a merger at all.                    I mean, this

 21    isn't a merger at all.            But one important distinction

 22    between a merger and an agreement -- again, I'll

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          Case 1:21-cv-11558-LTS Document 158-18 Filed 09/09/22 Page 7 of 8    Page 127

  1    defer to the lawyers -- but if you have a merger, one

  2    of the economic concerns is -- whether it's a legal

  3    concern is what I'll defer to the lawyers -- one of

  4    the economic concerns is after a merger, the eggs are

  5    in a sense scrambled and it's hard to undo.                      But this

  6    is an agreement.          It seems to me if it's an illegal

  7    price-fixing agreement, which is what I assume

  8    Dr. Miller is saying, you just say stop the agreement

  9    and pay treble damages.

 10                    So I just don't understand this claim that

 11    you should pay no attention to the data.                     It just

 12    seems to me against what economists are told to do,

 13    which is to use the available data to make the best

 14    inferences they can.

 15           Q.       Do you agree that as a general matter, if

 16    airline capacity goes up, then prices will go down

 17    all else equal?

 18           A.       That all else equal, if airlines expand

 19    capacity, that price will fall?                 I think that's what

 20    you're saying.         Yes, certainly -- I mean, there are

 21    all these complexities about a network and everything

 22    like that, but putting that aside.                  Generally, if

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         STATE OF MARYLAND )

                I, MARY GRACB CASTLEBERRY, RPR, the off,rcer before

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         witness whose testimony appears in the foregoing deposition was duly

         sworn by me; that the testimony of said witness u'as taken by me to the

         best of my ability and thereafter leduced to t5,per,vriting under rny

         direction; that I am neither counsel for, related to, nor employed by any

         of the parties for the action in rvhich this deposition rvas taken, and

         further that I am not a relative or employee of any attomey or counsel

         employed by the parties thereto, nor financially or otherwise interested

         in the outcome of the action.




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